
PER CURIAM.

ORDER

David L. Jellison and the Secretary of Veterans Affairs each respond to the court’s order and request that the court summarily affirm the judgment of the United States Court of Appeals for Veterans Claims in Jellison v. Prineipi, 01-666, 18 Vet-App. 556 (July 20, 2004).
The Board of Veterans’ Appeals denied Jellison’s claim for an increased rating for his service-connected schizophrenia and denied his claim for a rating of total disability based on individual unemployability. The Court of Appeals for Veterans Claims vacated the Board’s decision and remanded the case to the Board, and the Secretary appealed.
Summary affirmance of a case is appropriate “when the position of one party is so clearly correct as a matter of law that no substantial question regarding the outcome of the appeal exists.” Joshua v. United States, 17 F.3d 378, 380 (Fed.Cir.1994). The Secretary, the appellant in this case, concedes that summary affirmance is appropriate.
Accordingly,
IT IS ORDERED THAT:
(1) The stay of proceedings is lifted.
(2) The judgment of the Court of Appeals for Veterans Claims is summarily affirmed. The case is remanded.
(3) Each side shall bear its own costs.
(4) The revised official caption is reflected above.
